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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF WEST VIRGINIA

Mountain East Conference                   :
                                           :       Civil Action No. 1:21-CV-104
               Plaintiff,                  :
                                           :       Judge Kleeh
       vs.                                 :
                                           :
Franklin University, et al.                :
                                           :
               Defendants.


                              MOTION FOR DEFAULT JUDGMENT

       COMES NOW, Plaintiff, Mountain East Conference (“MEC”), by and through its

undersigned counsel, and hereby moves this Court to enter a default judgment against Franklin

University and Franklin University - Urbana, LLC, d/b/a Urbana University, in accordance with

the provisions of Rule 55(a) and Rule 12(a)(4)(A) of the Federal Rules of Civil Procedure. In

support of the motion, the Plaintiff sets forth its reasoning in the accompanying Memorandum in

Support.

                                           MOUNTAIN EAST CONFERENCE,

                                           BY: SPILMAN THOMAS & BATTLE, PLLC

                                           /s/ Jordan A. Sengewalt
                                           Michael S. Garrison, Esq. (WV Bar No. 7161)
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                               MEMORANDUM IN SUPPORT

I.     Factual Background

       On July 26, 2021, Plaintiff filed its Complaint against Franklin University and Franklin

University - Urbana, LLC, d/b/a Urbana University for a breach of contract claim. ECF No. 1.

On August 26, 2021, Defendants filed Defendants’ Motion to Dismiss or, in the Alternative, to

Transfer Venue. ECF No. 6. On September 9, 2021, Plaintiff timely filed its Response in

Opposition to Defendants’ Motion to Dismiss or, in the Alternative, to Transfer Venue. ECF No.

9. On September 16, 2021, Defendants filed Defendants’ Reply in Support of Motion to Dismiss

or, in the alternative, to Transfer Venue. ECF No. 10. On March 29, 2022, the Court entered its

Memorandum Opinion and Order Denying Defendants’ Motion to Dismiss. ECF No. 26.

II.    Argument

       Rule 12(a) of the Federal Rules of Civil Procedure states:

               (a) Time to Serve a Responsive Pleading.

               (4) Effect of a Motion. Unless the court sets a different time, serving a motion
               under this rule alters these periods as follows:

               (A) If the court denies the motion or postpones its disposition until trial, the
               responsive pleading must be served within 14 days after notice of the court’s
               action.

Since the Court’s Order was entered on March 29, 2022, according to Fed. R. Civ. P.

12(a)(4)(A), Defendants had until April 12, 2022, to file an answer to the Complaint. To this

date, more than fourteen (14) days after Defendants were required to file an answer to the

complaint, Defendants have refused to answer the complaint and have ignored the Federal Rules

of Civil Procedure by failing to plead, and therefore, Plaintiff is entitled to the entry of default

against Defendants in accordance with Fed. R. Civ. 55(a).

       Rule 55(a) of the Federal Rules of Civil Procedure provides that “[w]hen a party against

whom a judgment for affirmative relief is sought has failed to plead or otherwise defend, and that

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failure is shown by affidavit or otherwise, the clerk must enter the party’s default.” District

courts have the authority to enter default judgment for failure to comply with its orders or rules

of procedure. Gill v. Graham. Noble & Assoc. LL, 2008 U.S. Dist. 114422 (S.D. Fla. Aug. 25,

2008). Although Rule 55(a), Fed.R.Civ.P, refers to entry of default by the clerk, it is well

established that a default also may be entered by the court. 6 Moore's Federal Practice P 55.03[1]

at 55-31 (1976 ed.); Moore v. Thomas, 2008 U.S. Dist. LEXIS 111008 (N.D. Cal 2008) citing

Breuer Elec. Mfg. v. Toronado Sys, of Am., Inc., 687 F.2d 182, 185 (7th Cir. 1982). [T]rial

judges are vested with discretion, which must be liberally exercised, in entering [default]

judgments ...” United States v. Moradi, 673 F.2d 725, 727 (4th Cir. 1982).

       Plaintiff is substantially prejudiced by Defendants’ failure to defend this matter by filing

the Answer as it obstructs the pursuit of ongoing discovery efforts.         The parties recently

requested a joint extension of timeframe, and the Court extended the discovery deadline to

September 1, 2022.     Plaintiff served discovery on July 27, 2021; Defendants served their

responses on December 17, 2021, and supplemented on July 22, 2022. Plaintiff afforded time to

Defendants for their responses to discovery and engaged in efforts, including a meet and confer

conference on February 18, 2022, to amicably resolve related issues; nevertheless, Defendants

continue to rely upon invalid boilerplate objections and their responses are not adequate under

the Federal Rules of Civil Procedure. In addition, Plaintiff is in the process of scheduling and

conducting depositions. In conducting the depositions, Plaintiff operates without Defendants’

asserted denials or affirmative defenses to the Complaint and is thereby hindered from exploring

the full scope of discovery with the deponents.

       As such, Defendants’ failure to abide by the Federal Rules of Civil Procedure and to file

an appropriate answer following the Court’s denial of Defendants’ Motion to Dismiss, default

judgment should be entered against Defendants.


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III.   Conclusion

       For the reasons set forth above, Plaintiff, Mountain East Conference, respectfully

requests this Court to enter a default against Defendants, Franklin University and Franklin

University - Urbana, LLC, d/b/a Urbana University, in accordance with the provisions of Rule

55(a) and Rule 12(a)(4)(A) of the Federal Rules of Civil Procedure, and for such other relief that

this court deems appropriate.



                                             MOUNTAIN EAST CONFERENCE,

                                             BY: SPILMAN THOMAS & BATTLE, PLLC

                                             /s/ Jordan A. Sengewalt
                                             Michael S. Garrison, Esq. (WV Bar No. 7161)
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                          UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF WEST VIRGINIA

Mountain East Conference                      :
                                              :       Civil Action No. 1:21-CV-104
               Plaintiff,                     :
                                              :       Judge Kleeh
       vs.                                    :
                                              :
Franklin University, et al.                   :
                                              :
               Defendants.                    :

                                  CERTIFICATE OF SERVICE

       I, Jordan A. Sengewalt, hereby certify that on the 8th day of August, 2022, the Motion for

Default Judgment was filed electronically through the Court’s CM/ECF with copies emailed to

counsel, as follows:

                                    Denise D. Pentino, Esquire
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                                     (Counsel for Defendants)



                                                      /s/ Jordan A. Sengewalt
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